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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

IN RE: KATRINA CANAL BREACHES * CIVIL ACTION
LITIGATION 05-4182
MAGISTRATE 2
x SECTION “kK”
*
4
PERTAINS TO: CYNTHIA FERRARA x
(07-4945) *

MOTION TO DISMISS

NOW INTO COURT, through undersigned counsel, comes The Southeast
Louisiana Flood Protection Authority East (“SLFPA”), who respectfully moves this
Honorable Court to dismiss with prejudice plaintiffs’ claims against it pursuant to Rule
12(B)(6) of the Federal Rules of Civil Procedure.

WHEREFORE, after due consideration is had, and for the reasons set forth in
the attached Memorandum in Support hereof, defendant respectfully requests that

plaintiffs’ claims against SLFPA should be dismissed with prejudice.
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Respectfully submitted,

DUPLASS, ZWAIN, BOURGEOIS, MORTON,
PFISTER & WEINSTOCK

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Counsel! for Defendant, The Southeast Louisiana Flood
Protection Authority East

CERTIFICATE OF SERVICE

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I hereby certify that on the 4° day of December, 2007, a copy of the foregoing
Boatd of Commissioners for the Southeast Louisiana Fleod Protection Authority East
was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this
filing has been forwarded to all known counsel of record by operation of the court’s
electronic filing system or by depositing a copy in the United States mail, properly

addressed and postage prepaid.

S/ Jennifer M. Morris

JENNIFER M. MORRIS (#29936)
